    Case 2:04-cr-00378-SRD-ALC          Document 207        Filed 10/16/07     Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                CRIMINAL ACTION

VERSUS                                                                              NO. 04-378

JOHN BAKER, ET AL.                                                           SECTION "K"(5)


                                           ORDER

       In consideration of Defendant Walter Tardy’s Motion to Dismiss (Rec. Doc. 177), this

Court provided its reasons and ruled from the bench on October 1, 2007, holding that this motion

is DENIED.


                Hello This is a Test
                                      16th day of _________________,
       New Orleans, Louisiana, this ______             October       2007.



                                                 ____________________________________
                                                        STANWOOD R. DUVAL, JR.
                                                   UNITED STATES DISTRICT JUDGE
